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                                                                                             FILED
                                                                                       September 11, 2024

                                                                                     CLERK, U.S. DISTRICT COURT
                         IN THE UNITED STATES DISTRICT COURT                         WESTERN DISTRICT OF TEXAS
                          FOR THE WESTERN DISTRICT OF TEXAS                                By:      DT
                                    L Pa
                                   El  AsSoO DIVISION                                                      Deputy


 UNITED STATES OF AMERICA ,                         §                 Case No:           EP:24-CR-02057-LS
                                                    §
         Plaintiff,                                 §    INDICTMENT
                                                    §
 v.                                                 §   Illegal Re-Entry
                                                    §
 OCTAVIO CARRASCO-GIMEZ                             §
                                                    §
         Defendant.                                 §


        THE GRAND JURY CHARGES:

                                             COUNT ONE

                                                                             Defendant,

                                 OCTAVIO CARRASCO-GIMEZ,

an alien, who had previously been excluded, deported, and removed from the United States,

attempted to enter, entered, and was found in the United States, without having previously received

express consent to reapply for admission from the United States Attorney General and the

Secretary of Homeland Security, the successor pursuant to Title 6, United States Code, Sections

202(3), 202(4) and 557, in violation of Titlee 8,, Unitedd Statess Code,, Sectionn 1326(a)) andd (b)(1).

                                                 A TRUE BILL.




                                                 FOREPERSON OF THE GRAND JURY



JAIME ESPARZA
UNITED STATES ATTORNEY


BY:
      Assistant U.S. Attorney
